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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

      v.
                                                     Crim No.: 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant




                     MOTION TO MODIFY CONDITIONS OF RELEASE

       The Defendant, by and through his undersigned counsel, respectfully moves the Court to

modify the release conditions specified in the Court’s Minute Order dated December 18, 2018,

so that Defendant will be required to stay within a specified radius of either the District of

Columbia or Middletown, Rhode Island. Defendant’s counsel have conferred with the Special

Counsel’s Office, which has no objection to this motion.

       In support of this motion, the Defendant states the following:

       1.       On December 18, 2018, the Court entered a Minute Order restricting Defendant’s

travel to within 50 miles of the District of Columbia, effective beginning January 4, 2019, and

directing the Defendant to file a motion seeking leave of Court in the event he wishes to travel

outside that area.

       2.       Prior to the Court’s December 18 Minute Order, the Defendant, whose travel was

not restricted in any way, had been traveling frequently back and forth between Alexandria,

Virginia, and Middletown, Rhode Island. As described in the Presentence Report (Doc. 44)

(November 20, 2018), he and his wife previously owned a house and now rent an apartment in

Alexandria, id. at ¶¶ 82-83, and they have owned a home in Middletown, Rhode Island since
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2005, id. at ¶¶ 48, 81. While his circumstances have been known by the Pretrial Services

Agency, the Probation Office, and the Special Counsel’s Office, undersigned counsel, upon

reviewing the Minute Order, recognized the need to address these matters formally with the

Court promptly, especially given that Defendant’s movements will become restricted starting

January 4.

       3.       During the time when the Defendant’s ability to travel was unrestricted, he

complied with every request from the Special Counsel’s Office and other law enforcement

authorities to meet and provide information pursuant to his commitment to full, complete, and

forthright cooperation with law enforcement under his Plea Agreement. He appeared promptly

in person for every single meeting requested by law enforcement authorities, and for the July 10

status hearing before the Court. The Defendant also compliantly checked in weekly by

telephone with the Pretrial Services Agency, as the Agency’s report to the Court indicates. See

Pretrial Services Agency Status Report (Doc. 55) (December 14, 2018).

       4.       We seek by this motion to request release conditions that would enable travel to

and from Rhode Island while still imposing significantly greater restrictions on the Defendant

than had been in place prior to the Court’s December 18 Minute Order. The restrictions would

include surrender of the Defendant’s passport, as required by the Minute Order, as well as a

prohibition of travel outside the two specified areas unless the Defendant files a motion for leave,

and the Court grants it. The modification we request would achieve the aim of assuring the

Defendant’s appearance at future court dates and the safety of the community.

       5.       Accordingly, the Defendant requests that his release conditions be modified so

that he be required to stay within a specified radius of Middletown, Rhode Island, or within a

specified radius of the District of Columbia, and that he be permitted to travel to and from those




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locations upon such conditions as the Court in its discretion deems appropriate. Although the

Court’s December 18 Minute Order specifies a 50-mile radius of the District of Columbia, for

Defendant’s circumstances a 20-mile radius from D.C. and a 40-mile radius from Middletown

would be sufficient to enable Defendant to get to the nearest airports and take direct flights

between those two locations. While the condition suggested in the attached proposed Order

would require two days’ advance notice to the Pretrial Services Agency, we defer to the

discretion of the Court regarding advance notice to, or approval by, the Pretrial Services Agency

or the Court.

       For these reasons, it is respectfully requested that this motion be granted and that the

Court sign the attached order granting this Motion to Modify Conditions of Release.


December 26, 2018                             Respectfully submitted,


                                                            /s/

                                              Robert K. Kelner (D.C. Bar No. 466880)
                                              Stephen P. Anthony (D.C. Bar No. 426536)
                                              Covington & Burling LLP
                                              One City Center
                                              850 Tenth Street, NW
                                              Washington, DC 20001-4956
                                              (202)-662-5503


                                              Counsel for the Defendant




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